CaSe 1-18-40818-nh| DOC 11 Filed 03/09/18 Entered 03/09/18 18223201

Debtor name 59 Coo|idge Road, LLC

 

Unlfed States Bankrupicy Court for the: EASTERN D|STRlCT OF NEW YORK, BROOKLYN DlVlSlON

 

Case number(if known) 13.40818.NHL_
[] Check if this is an
amended n|ing

 

 

GfFicial Form 202
Declaration Uncler Penalty of Perjury for Non-lndividual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.

Declaration and signature

 

 

l am the president another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Schedule A/B: Assets-Real and Personal Property(Ofiicial Form 206A/B)

Schedu/e D: Creditors Who Have C/aims Secured by Propen‘y(Official Form 2060)

Schedule E/F.' Creditors Who Have Unsecured Claims (Official Form 206ElF)

Schedule G.' Executory Contracts and Unexpired Leases(Ofiicial Form ZOSG)

Schedule H: Codebtors (Ofticial Form ZOSH)

Summary of Assets and Liabi/ities for Non-lndividuals (Official Form ZOSSum)

Amended Schedule

Chapter 11 or Ghapter 9 Cases.' List of Cred/'tors Who Have the 20 Largest Unsecured C/aims and Are Not /nsiders (Of‘iicial Form 204)
Other document that requires a declaration

 

EUUHEEE[]E

 

l declare under penalty of perjury that the foregoing is true and correct

EXeCuf€d On March 9, 2018 X Isl YC Rubin
Signature of individual signing on behalf of debtor

 

YC Rubin
Printed name

 

Chief Restructuring 0fficer
Position or relationship to debtor

Case 1-18-40818-nh| DOC 11 Filed 03/09/18 Entered 03/09/18 18223201

Debtor name 59 Coo|idge Road, LLC

Unifed States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK, BROOKLYN DlVlSlON

 

Case number(if known) 18..40818-NHL “
1'_'] Check if this is an

amended filing

 

 

Officia| Form 206A/B
Schedule A/B: Assets - Real and Personal Property ms

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. ln Schedule AIB, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).

 

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. lf an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. ln valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

 

l:l No. Go to Part 2.

g ‘/es Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage tirm) Type of account Last 4 digits of account
number

CFG Community Bank
3.1. Ba|ance as of 12/31/2017 2652 $930.00

 

4. Other cash equivalents (/dentify all)

 

5. Total of Part 1. $930_00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

 

  

1 Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

E No. eo to Part 3.
l:} Yes Fill in the information below.

   

t Accounts receivable
10. Does the debtor have any accounts receivable?

n No. Go to Part 4.
[] Yes Fill in the information below.

 

 

13. Does the debtor own any investments?

g No. Go to Part 5.
l:l Yes Fill in the information below.

Ofncial Form 206A/B Scheclule A/B Assets - Real and Personal Property page 1

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Case 1-18-40818-nh| DOC 11 Filed 03/09/18 Entered 03/09/18 18223201

Debtor 59 Coolidge Road, LLC Case number (lfknown) 18-40818-NHL

Name

 

  

~;_P` lnventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)‘?

 

§ No. Go to Part 6.
l:l Yes Fill in the information below.

  

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

 

l No. Go to Part 7.
m Yes Fill in the information below,

Office furniture, fixtures, and equipment; and collectibles
38, Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

 

 

§ No. Go to Part 8.
l:] Yes Fill in the information below.

 
 

Machinery, equipment, and vehicles
debtor own or lease any machinery, equipment, or vehicles?

 

a No. Go to Part 9.
l:l Yes Fi|l in the information below.

 

 

54. Does the debtor own or lease any real property?

[:l No. Go to Part 10.
g Ves Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and extent Net book value of Valuation method used Current value of
property of debtor's debtor's interest for current value debtor's interest
include street address or other interest in (\Nhere available)
description such as Assessor property

Parcel Number (APN). and type of

property (for example acreage

factory, warehouse apartment or

office building, if available

55.1. Land and building
for nursing home
facility. Real estate
and fixtures, if any,

to be appraised and _
calculated. F€e S'mple $0.00 unknown

 

 

 

56. Total of Part 9. $0.00

Add the current value on lines 55.1 through 55,6 and entries from any additional sheets
Copy the total to line 88.

 

 

 

57. ls a depreciation schedule available for any of the property listed in Part 9?
§ No
[:] Yes
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Case 1-18-40818-nh| DOC 11 Filed 03/09/18 Entei’ed 03/09/18 18223201

Debtor 59 Cooiidge Road, LLC Case number (/fknown) 18-40818-NHL

Name

58. Has any of the property listed in Part 9 been appraised by a professional within the last year‘?

n No
l:l Yes

  

'_ 77 ll intangibles and intellectual property
59. Does e debtor have any interests in intangibles or intellectual property?

o No. colo Pariii.
ij Yes Fili in the information beiow.

All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not pre\n'ously reported on this form.

 

s No. Go to Part12.
i:i Yes Fiil in the information beiow.

Officiai Form 206A/B Scheduie A/B Assets - Reai and Personai Property page 3

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Case 1-18-40818-nh| DOC 11 Filed 03/09/18 Entered 03/09/18 18223201

Debtor 59 Coo|idge Road, LLC

 

Name

Summary

|n Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87,

88.

89.

90.

91.

92.

Otiicial Form 206AIB

T¥Fe°fw°v¢rw. ~

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable Copy line 12, Part 3.

lnvestments. Copy line 17, Pan‘ 4.

lnventory. Copy line 23, Pan‘ 5.

Farming and fishing-related assets. Copy line 33, Part 5.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8,

Real property. Copy line 56, Pan‘ 9 ..................................................

intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Case number (/fknown) 18-40818~NHL

Current value of `
personal property

$930.00

$0.00
$0.00
$0.00
$0.00
$0.00

$0.00

$0.00

..................................... >

$0.00
$0.00

 

Total. Add lines 80 through 90 for each column

 

$930.00

 

 

Tota| of all property on Schedule AIB. Add lines 91a+91b=92

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Cu`rrent value of~real ` t
moriarty
$D.OO
+ 91b. $0.00
$930.00

 

 

 

Schedu|e A/B Assets - Real and Personai Property

page 4

Case 1-18-40818-nh| DOC 11 Filed 03/09/18 Entered 03/09/18 18223201

59 Coo|idge Road, LLC

Debtor name

 

Uniied Slales Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DiVlSlON

 

Case number(lf known) 13-40818-NHL
[] Check if this is an

amended filing

 

 

Official Form ZOSE/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

 

 

Be as complete and accurate as possible. Use Part1 for creditors with PRlORlTY unsecured claims and Part 2 for creditors with NONPRlORlTY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets ~ Real and
Personal Property(Of'iicial Form 205AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Ofticial Form ZOSG). Number the entries in Parts 1 and 2
in the boxes on the left. lf more space is needed for Part 1 or Part 2, till out and attach the Additional Page of that Fart included in this form.

List All Creditors with PRlORlTY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

l:] No. Go to Part 2.

g ¥es. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. lf the debtor has more than 3 creditors with
priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
internal Revenue Service Ch@¢l< all that apply~
Centralized insolvency Operations m Cominganl
PO Box 7346 [] unliquidated
Phaiadeiphia, PA 19101~7346 a Dispu,ed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRlORlTY § No
unsecured claim: 11 U.SrC. § 507(a) (§)
m Yes
Priority creditor's name and mailing address As of the petition ming date, the claim is: $0_00 $O_OO

 

Town Assessor Cha¢l< all that apply.
Town of Watertown EJ Comingem

29 Main St [J unliquidated
watertown, MA 02472-4404 g Dispu,ed

 

Date or dates debt was incurred

Basis for the claim:
For notice purposes only

 

Last 4 digits of account number

Specify Code subsection of PRlORlTY
unsecured claim: 11 U.S.C. § 507(a) (_8)

ls the claim subject to offsel?

l No
m Yes

 

  

List All Creditors with NONPR|OR|TY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. |f the debtor has more than 6 creditors with nonpriority unsecured claims. fill

out and attach the Additional Page of Part 2.

Oft‘lcial Form 206E/F

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Amount of claim

Schedule ElF: Creditors Who Have Unsecured Claims

12345

page 1 of 2

Case 1-18-40818-nh| DOC 11 Filed 03/09/18 Entered 03/09/18 18223201

 

 

minor 59 coolidge Road, LLC Case number il “"°W"l 134°813"`"'"-
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that app/yu $8,053_40
EverSource [:i contingent
_ ij Unliquidated
247 Statlon Dr L`_] Dlspuled

Westwood, MA 02090-2394

Date(s) debt was incurred __

Basis for the claim: Ufilify

Last 4 digits of account number __ is the claim subject to offset'? a No l:i Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that applyl unknown
Massachusetts Dept of Public Health ij <;oniingeni
i_`_i unliquidaied
250 Washington St [] Dispu,ed

BOStOn, MA 02108-4603

Date(s) debt was incurred __

Basis for the claim: For notice purposes only

Last 4 digits of account number __ ls the claim subject to offsel? g No i:l Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. __M§i
TOWn Of watertown Dept of Pubic works m antingent
m Unliquidated
124 Orchard St [] Dispufed

Watertown, MA 02472-1 816

Date(s) debt was incurred __

Basis for the claims Ufliity

Last 4 digits of account number __ is the claim subject to offsel? § No m Yes

List Others to Be Notified About Unsecured Claims

 

4. List in alphabetical order any others who must be notified for claims listed in Par\s 1 and 2. E><ampies of entities that may be listed are collection agencies, assignees
of claims listed above. and attorneys for unsecured creditors

if no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page, if additional pages are needed, copy the next page.

Name and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) iisted'? account number, if
any

Total Amounts of the Priority and Nonpriority Unsecured Claims

 

5. Add the amounts of priority and nonpriority unsecured claims.
`l'otal of claim amounts ~

 

5a. Total claims from Part1 5a $ 0_0{)
5b. Total claims from Part 2 5b, + S 148,557_84
5c. Total of parts 1 and 2

Lines 53 + 5b = 5¢; 5c. $ 148,557.84

 

 

 

Oft”lcial Form 206 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 2 of 2

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Deblor name 59 Coolidge Road, LLC

Unlfed Stales Bankruplcy Court for the; EASTERN DlSTRlCT OF NEW YORK. BROOKLYN DlVlSlON

 

Case number(if known) 18.40818-NHL

[] Check if this is an
amended wing

 

 

Official Form 2066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. if more space is needed, copy and attach the additional page, number the entries consecutively

1. Does the debtor have any executory contracts or unexpired leases?
g No. Check this box and file this form with the debtor's other schedules There is nothing else to report on this form.

§ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets ~ Real and Persona/ Property (Official
Form 206NB).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Debtor is the landlord

lease is for and the nature of of real property lease
the debtor's interest with affiliate.

State the term remaining W t rt H ith C t
a e own ea en er

 

 

List the contract number of 59 COO|idge Ave
any government contract Waf€l’tOWn, MA 02472-2802
Olticial Form 2066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Debtor name 59 Coolidge Road, LLC

 

United States Bankruptcy Court for ihe: EASTERN DlSTRlCT OF NEW YORK, BROOKLYN DlVlSlON

 

Case number(if known) 18.4031 8-NHL
l'_'] Check if this is an
amended filing

 

 

Official Form ZOGSum
.Summary of Assets and Liabilities for Non-lndividuals 12115

 

 

 

Summary of Assets

1. Schedule A/B: Assets-Reai and Personal Property (Cficial Form ZOSA/B)

1a. Real property:
Copy line 88 fromSchedu/e A/B ........................................................................................................................... $ 0-00

1b. Total personal property:
Copy line 91A fromSchedu/e A/B ........................................................................................................................ $ 930'00

lc. Total of all property:
Copy line 92 fromschedu/e A/B .......................................................................................................................... $ 930-00

 

Summary of Liabiiities

2. Schedule D: Credi'tors Who Have Claims Secured by Property (Official Form ZOBD)
Copy the total dollar amount listed in Column AAmount ofc/a/'m, from line 3 ofSchedu/e D .................................... $ 31’110'090~97

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Sa. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a oSchedu/e E/F ......................................................................... $ O-oo

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b d£chedu/e E/F ............................................... +$ 1481557-84

 

4. Total liabilities .......................................................................................................................................................
Lines 2 + 33 + 3b $ 31,258,648.81

 

 

 

Offlcial Form ZOSSum Summary of Assets and Liabilities for Non-lndividuals page 1
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midnight ac

 

Dethr name 59 Coolidge Road, LLC

United State$ Bankruptcy Court for the: EASTERN DlSTR|CT OF NEW YORK, BROOKLYN DlVlSlON

 

Case number(if known) 13.40318-NHL
Cl Check if this is an
amended filing

 

 

Officlal Form 207
Statement of Financial Affairs for Non-lndividuals Fi|ing for Bankruptcy 04/16

 

The debtor must answer every question. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’s name and case number (if known).

 

 

1. Gross revenue from business

 

[:l None.
identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and
exolusions)
For prior year: § cperaring a business $1,050,000.00
From 1/01/2017 to 12/31/2017
L_.l Other
FOI' year befor€ that E Operafing a business $1,052,877.00
From 1101/2016 to 12/31/2016
m Other

 

2. Non-business revenue
include revenue regardless of whether that revenue is taxable. Non-business income may include interest dividends, money collected from lawsuits, and
royalties List each source and the gross revenue for each separately Do not include revenue listed in line 1,

3 None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

 

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--inoluding expense reimbursements-to any creditor, other than regular employee compensation within 90 days before filing this
case unless the aggregate value of all property transferred to that creditor is less than $6`425. (This amount may be adjusted on 4/01/19 and every 3 years
after that with respect to cases tiled on or after the date of adjustment.)

I None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check a/l that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements made within 1 year before filing this case on debts owed to an insider or guaranteed or
cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount may be
adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
insiders include ofticers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their

Oft'icia| Form 207 Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy page 1

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Debtor 59 Coo"dge Road, LLC Case number(irknown) 18.40818-NHL

reiatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor, 11 U.S.C. § 101(31).

§ None.

lnsider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

5. Repossessions, foreclosures, and returns

List ali property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor. sold at a
foreclosure sale, transferred by a deed in lieu of foreclosure or returned to the seller. Do not include property listed in line 6.

n None

Creditor's name and address Describe of the Property Date Value of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otheiwise took anything from an account of the
debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

l None

Creditor‘s name and address Description of the action creditor took Date action was Amount
taken

 

Le ¢ al Actions or Assignments

7. Legai actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings investigations arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
capacity-within 1 year before filing this case.

i:i None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. See attached Schedule of . E] Pending
Litigatiorl i:i On appeal

L_.] Concluded

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

receiver, custodian, or other court-appointed officer within 1 year before filing this case.

. None

Certain Gifts and Charitabie Contributions

 

9. List ali gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
gifts to that recipient is less than $1,000

l None

Recipient's name and address Description of the gifts or contributions Dates given Value

;; Certain Losses

 

10. All losses from fire, theft, or other casualty within ’i year before filing this case.

g None

Officiai Form 207 Statement of Financiai Affairs for lion-individuals Filing for Bankruptcy page 2

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Debf<>r 59 Coolidge Road, LLC Case number(ifknown) 18-40818-NHL
Description of the property lost and how Amount of payments received for the loss Dates of loss Value of property
the loss occurred lost

if you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort |iabi|ity. list the total received

List unpaid claims on Officiai Form 106AlB (Schedu/e
A/B: Assets - Real and Persona/ Property).

_;: Certairi Payments or Transfers

 

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this

case to another person or entity, including attorneys that the debtor consulted about debt consolidation or restructuring seeking bankruptcy reiief. or filing
a bankruptcy case.

Cl None.
Who was paid or who received the if not money, describe any property transferred Dates Total amount or
transfer‘? value
Address

11.1. Goldman Weprin Finkel
Goldstein LLP
1501 Broadway Fl 22
New York, NY 10036-5600 $8,750.00

Email or website address

 

Who made the payment, if not debtor?
Zigmond Brach

 

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
self-settled trust or similar device.
Do not include transfers already listed on this statement

g None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by saie, trade. or any other means made by the debtor or a person acting on behalf of the debtor within 2
years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs include both
outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement

§ None.
Who received transfer? Description of property transferred or Date transfer was Total amount or
Address payments received or debts paid in exchange made value

1 Previous Locations

 

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
l Does not apply

Address Dates of occupancy
From-To

 

s Health Care Bankruptcies

15, Health Care bankruptcies
is the debtor primarily engaged in offean services and facilities for:

Officiai Form 207 Statement of Financial Affairs for Non~individuals Filing for Bankruptcy page 3

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Debf<>r 59 Cooiidge Road, LLC Case numberr/fknown) 18-40818-NHL

- diagnosing or treating injury, deformity, or disease, or
- providing any surgicai. psychiatric. drug treatment or obstetric care?

z No. Go to Part 9.
i:i Yes. Fill in the information beiow.

Facility name and address Nature of the business operation, including type of services the if debtor provides meals
debtor provides and housing, number of
patients in debtor's care

 

I?;; Personally identifiable information

16. Does the debtor collect and retain personally identifiable information of customers?

l No.

[] Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERiSA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

l No. co to Part 10.
i:i Yes. Does the debtor serve as plan administrator’?

Part 10;';;:1' Certain Financiai Accounts, Safe Deposit Boxes, and Storage Units

 

18. Closed financial accounts
Within 1 year before filing this case, were any Hnancia| accounts or instruments held in the debtor’s name, or for the debtor's benefit, ciosed. soid, moved,
or transferred?
include checking, savings, money market. or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives associations and other financial institutions

l None
Financiai institution name and Last 4 digits of Type of account or Date account was Last balance before
Address account number instrument ciosed, soid, closing or transfer
moved, or
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

n None
Depository institution name and address Names of anyone with access Description of the contents Do you stiii
to it have it?
Address

20. fo~premises storage
List any property kept in storage units or warehouses within 1 year before hiing this case, Do not include facilities that are in a part of a building in which

the debtor does business

l None

Facility name and address Names of anyone with access Description of the contents Do you still
to it have it?

§:‘ Property the Debtor Hoids or Controis That the Debtor Does Not Own

 

21, Property held for another
List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trust. Do not list
leased or rented property

l None

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Debior 59 Coolidge Road, LLC Case numberr/'fknown) 18-40818-NHL

 

Part `*12 Detaiis About Environment information

For the purpose of Part 12, the following definitions appiy:
Environmenta/ lawmeans any statute or governmental regulation that concerns poliution, contamination or hazardous material, regardless of the medium
affected (air, land. water, or any other medium).

Site means any iocation, facility, or property, including disposal sites, that the debtor now owns, operates or utilizes or that the debtor formerly owned,
operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant or a similarly
harmful substance.

Report ali notices, reieases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental iaw? include settlements and orders.

n No,

i:i Yes. Provide details beiow.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit othenuise notihed the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental iaw?

g No.

l:i Yes. Provide details below.

Site name and address Governmentai unit name and Environmentai iaw, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous materiai?

n No.

l:i Yes. Provide details below,

Site name and address Governmentai unit name and Environmentai iaw, if known Date of notice
address

 

Part 1135 Detaiis About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
include this information even if already listed in the Scheduies.

§ None

Business name address Describe the nature of the business Employer identification number
Do not include Sociai Secun'ty number or iTlN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case

i:i None

Name and address Date of service
From-To

263~1\ E|i Fisch
2363 Route 9
Toms River, NJ 08755-1524

263.2. Pease & Associates
1422 Euciid Ave Ste 400
Cleveiand, OH 44115-1910

26b. List ali firms or individuals who have audited compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2

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years before filing this case.

m None

260. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

ij None
Name and address lf any books of account and records are unavailable,
explain why

26€~1. Eli Fisch
2363 Route 9
Toms River, NJ 08755-1524

26<:.2. ¥C Rubin
1600 63rd St
Brooklyn, NY 11204-2713

26d. List all hnancial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

n None
Name and address

27. inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

n No

[] Yes. Give the details about the two most recent inventories
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
control of the debtor at the time of the filing of this case.

 

 

 

Name Address Position and nature of any interest % of interest, if
any
Larry Lipschutz 4775 Collins Ave Apt 901 Member
Miami Beach, FL 33140-5202
Name Address Position and nature of any interest % of interest, if
any
Massachussetts Centers 1600 63rd St Member
LLC Brooklyn, NY 11204-2713
Name Address Position and nature of any interest % of interest, if
any
Avi Lipschutz 17 Van Wink|e Rd Member
Monsey, NY 1 0952-1 334
Name Address Position and nature of any interest % of interest, if
any
YC Rubin 1600 63rd St Chief Restructuring Officer

Brooklyn, NY 11204-2713

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?

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Debtor 59 Coo|idge Road, LLC Case number(irknown) 18-40818-NHL
l:] No
- Yes. identify below.
Name Address Position and nature of any Period during which ‘
interest position or interest
was held
Avi Lipschutz 17 Van Winkle Rd Former Manager
Monsey, NY 10952-1334

 

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before hling this case, did the debtor provide an insider with value in any form, including salary, other compensation. draws, bonuses, loans,

credits on loans. stock redemptions, and options exercised?

No
l:l Yes. identify below,
Name and address of recipient Amount of money or description and value of Dates Reason for providing
property the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

§ No
lIi Yes. identify beiow.

Name of the parent corporation Employer identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

§ No
El Yes.idenriry below.

Name of the pension fund Employer identification number of the parent
corporation

' nature and Declaration

 

WARNlNG -~ Bankruptcy fraud is a serious crime. Making a false statement concealing property. or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519. and 3571.

l have examined the information in thi§tatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
correct

i declare under penalty of perjury that the foregoing is true and correct
Executed On March 9, 2018

lsl YC Rubin ¥C Rubin
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
l No
l:l Yes

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln rc: Chapter 11
59 Coolidge Road, LLC, Case No.18-40818-NHL

Debtor.

 

X
LIST OF PENDING LAWSUITS

Capital Finance LLC et al v. 22 Maple Street, LLC et a1.
U.S. District Court, District of Massachusctts

Foreclosure Action
Docket No. 18-cv~10172-RWZ

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Boston, MA 02109

Dated: Brooklyn, New York
March 8, 2018

59 Coolidge Road, LLC

By: /s/ Y.C. Rubin
Name: Y C Rubin
Title: Chief Restructuring Oft`lcer

